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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SHARPE INNOVATIONS, INC.,                         Case No. 1:17-CV-05460

                   Plaintiff,                     Patent Case


       vs.                                        Hon. Virginia M. Kendall

KDDI AMERICA, INC., LOCUS
TELECOMMUNICATIONS, LLC,

                   Defendants.




SHARPE INNOVATIONS, INC.,                         Case No. 1:17-CV-05462

                   Plaintiff,                     Patent Case


       vs.                                        Hon. Virginia M. Kendall

TRACFONE WIRELESS, INC., CVS
HEALTH CORPORATION, AMAZON.COM,
INC.,

                   Defendants.


  JUNE 5, 2018 STATUS REPORT OF DEFENDANTS TRACFONE WIRELESS, INC.,
             CVS HEALTH CORPORATION AND AMAZON.COM, INC.


       Pursuant to the Court’s March 1, 2018 Minute Entry and Order (Dkt. 47) Granting

Defendant TracFone Wireless, Inc.’s Motion to Stay pending inter partes review (IPR) of the

patents-in-suit (Dkt. 31), Defendants TracFone Wireless, Inc. (TracFone), CVS Health

Corporation, and Amazon.com, Inc. hereby submit this status report on the pending IPR

proceedings of the patents-in-suit.

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        On May 23, 2018, the Patent Trial and Appeal Board (PTAB) instituted review of

IPR2018-00222, including review of all claims, and on all grounds, challenged by Petitioner.

The PTAB’s institution decision is attached hereto as Exhibit 1. On May 31, 2018, the PTAB

instituted review of IPR2018-00225, including review of all claims, and on all grounds,

challenged by Petitioner. The PTAB’s institution decision is attached hereto as Exhibit 2.

Accordingly, the PTAB has instituted review of all potentially asserted claims for all patents at

issue in this action.

        The PTAB issued a Scheduling Order (attached hereto as Exhibit 3) whereby, inter alia,

Sharpe Innovations’ Patent Owner Responses are due August 20, 2018, Petitioner’s Replies are

due November 13, 2018, and Oral Argument is set for January 30, 2019. Pursuant to 35 U.S.C. §

316(a)(11), the PTAB must issue a final written decision on these IPRs no later than May 31,

2019. Based on the above, and the Court’s March 1, 2018 Order granting TracFone’s motion to

stay pending IPR resolution over the patents-in-suit (Dkt. 47), Defendants respectfully request

that the Court’s stay of this litigation remain in place until resolution of the pending IPRs.

        On June 4, 2018, counsel for TracFone conferred with counsel for Sharpe Innovations,

Inc. (Sharpe) and Sharpe confirmed that it does not seek to lift this Court’s stay pending

resolution of the instituted IPRs.



Dated: June 5, 2018

                                                      Respectfully submitted,

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                                        * application for pro hac vice admission
                                        forthcoming

                                        Counsel for Defendant, Counterclaim-
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                                         *   application    for   pro   hac     vice
                                         admission forthcoming

                                         Counsel for Defendants CVS           Health
                                         Corporation and Amazon.com, Inc.
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                              CERTIFICATE OF SERVICE

      I, Linda X. Shi, an attorney, hereby certifies that on June 5, 2018, I caused a true and

correct copy of the foregoing to be filed and served electronically via the court’s CM/ECF

system.

                                                 /s/ Linda X. Shi_____________
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